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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA

 v.                                                   CRIMINAL ACTION NO. H-22-612-1

 EDWARD CONSTANTINESCU

                                             ORDER

          Pending before the Court is Defendant Edward Constantinescu’s Third Motion to Compel

Brady Material (Doc. No. 328). The government filed a Response (Doc. No. 344), to which

Defendant filed a Reply (Doc. No. 345). The Court held a hearing on the matter on September 7,

2023 and ordered the parties to submit additional briefing on the matter. Defendant filed his

supplemental brief on September 15, 2023 and the government filed a supplemental response.

The Court has considered the pleadings and the applicable law and grants Defendant’s motion. It

is hereby

          ORDERED that within 10 days of this order, the government must produce any

exculpatory information regarding the $100,000 payment to Defendant’s brother-in-law,

including any financial disclosure form that Defendant’s brother-in-law submitted regarding the

payment. If no such investigation occurred, the government is ordered to make that

representation to defense counsel. It is further

          ORDERED that within 10 days of this order, the government must produce any

statements made by Defendant’s brother-in-law to the testifying witnesses in this case. It is

further
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       ORDERED that within 10 days of this order, the government must identify each day

when AUSA Carter spoke with Defendant’s wife’s divorce attorney and produce those dates to

defense counsel. It is further

       ORDERED that within 10 days of this order, the government must disclose in a letter to

defense counsel the substance of any conversations AUSA Carter had with Defendant’s wife’s

divorce attorney about Constantinescu’s assets and/or finances that is different from statements

made by the government in this case (including in investigatory documents such as seizure

warrant affidavits).

       Signed this _____ day of September 2023.




                                                    ______________________________
                                                          ANDREW S. HANEN
                                                    UNITED STATES DISTRICT JUDGE
